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 8

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     COOLIT SYSTEMS, INC. and Defendants
10   CORSAIR GAMING, INC. and CORSAIR
     MEMORY, INC.
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13                               UNITED STATES DISTRICT COURT

14                             NORTHERN DISTRICT OF CALIFORNIA

15                                   SAN FRANCISCO DIVISION

16

17   ASETEK DANMARK A/S,                            Case No. 3:19-cv-00410-EMC

18                    Plaintiff and                 DECLARATION OF REUBEN H. CHEN IN
                      Counter-defendant,            SUPPORT OF DEFENDANTS’ NOTICE OF
19                                                  MOTION AND MOTION FOR SUMMARY
            v.                                      JUDGMENT
20
     COOLIT SYSTEMS, INC.,
21
                      Defendant and                 Date:         May 5, 2022
22                    Counter-claimant,             Time:         1:30 pm
                                                    Location:     COURTROOM 5, 17TH FLOOR
23   CORSAIR GAMING, INC. and CORSAIR               Judge:        Hon. Edward M. Chen
     MEMORY, INC.,
24
                       Defendants.
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                                                                           DECLARATION OF REUBEN H. CHEN ISO
                                                         DEFS’ NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT
                                                                                   CASE NO. 3:19-CV-00410-EMC
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 1          I, Reuben H. Chen, do hereby declare as follows:

 2          1.     I am an attorney licensed to practice before this Court and all courts of the State of

 3   California, and am a partner with Cooley LLP, counsel for Defendant and Counter-claimant CoolIT

 4   Systems, Inc. (“CoolIT”), Defendant Corsair Gaming, Inc., and Defendant Corsair Memory, Inc.

 5   (collectively, “Defendants”) in the above-entitled action. I submit this declaration in support of

 6   Defendants’ Notice of Motion and Motion for Summary Judgment. The matters stated herein are

 7   based upon my personal knowledge, and if called as a witness, I would testify as to the following

 8   statements.

 9          2.     Attached hereto as Exhibit 1 is a true and correct copy of email between Joel Dion to

10   Robert McCauley, sent on September 11, 2014, with attachment.

11          3.     Attached hereto as Exhibit 2 is a true and correct copy of a Reply to Office Action,

12   dated December 18, 2008.

13          4.     Attached hereto as Exhibit 3 is a true and correct copy of the Rebuttal Report of Dr.

14   John P. Abraham Regarding Infringement of Asetek Danmark A/S’s Asserted Patent Claims, served

15   December 8, 2021.

16          5.     Attached hereto as Exhibit 4 is a true and correct copy of USPTO’s Office Action,

17   Final Rejection, mailed March 20, 2009.

18          6.     Attached hereto as Exhibit 5 is a true and correct copy of a Reply to Office Action,

19   dated April 4, 2011.

20          7.     Attached hereto as Exhibit 6 is a true and correct copy of USPTO’s Notice of

21   Allowance and Fee(s) Due, mailed April 8, 2011.

22          8      Attached hereto as Exhibit 7 is a true and correct copy of the Expert Report of Dr.

23   David B. Tuckerman Regarding Infringement of U.S. Patent Nos. 8,240,362; 10,613,601; and

24   10,599,196, served November 3, 2021.

25          9.     Attached hereto as Exhibit 8 is a true and correct copy of excerpts of the Expert Report

26   of Dr. David B. Tuckerman Regarding Validity of U.S. Patent Nos. 8,240,362; 10,613,601; and

27   10,599,196, served December 8, 2021.

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                                                                               DECLARATION OF REUBEN H. CHEN ISO
                                                             DEFS’ NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT
                                                                                       CASE NO. 3:19-CV-00410-EMC
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 1           10.    Attached hereto as Exhibit 9 is a true and correct copy of excerpts of the Initial Expert

 2   Report of Dr. David B. Tuckerman Regarding Invalidity of U.S. Patent Nos. 8,743,330; 9,603,284;

 3   and 10,274,266, November 3, 2021.

 4           11.    Attached hereto as Exhibit 9-A is a true and correct copy of Exhibit A to Dr.

 5   Tuckerman’s Invalidity Report, served November 3, 2021.

 6           12.    Attached hereto as Exhibit 9-B is a true and correct copy of Exhibit B to Dr.

 7   Tuckerman’s Invalidity Report, served November 3, 2021.

 8           13.    Attached hereto as Exhibit 9-C is a true and correct copy of Exhibit C to Dr.

 9   Tuckerman’s Invalidity Report, served November 3, 2021.

10           14.    Attached hereto as Exhibit 10 is a true and correct copy of excerpts of the deposition

11   transcript of Andre Eriksen, conducted on August 24, 2021. Relevant portions of the deposition

12   transcript have been highlighted for the convenience of the court.

13           15.    Attached hereto as Exhibit 11 is a true and correct copy of excerpts of the Expert

14   Reports of Himanshu Pokharna, Ph.D. in Response to Dr. Tuckerman’s Report on Invalidity of U.S.

15   Patent Nos. 8,743,330; 9,603,284; and 10,274,266, served December 8, 2021.

16           16.    Attached hereto as Exhibit 12 is a true and correct copy of Asetek’s Sales Data Sheet

17   bearing Bates number ASE-CLT00045045.

18           17.    Attached hereto as Exhibit 13 is a true and correct copy of excerpts of the deposition

19   transcript of Dr. David B. Tuckerman, conducted on March 18, 2022. Relevant portions of the

20   deposition transcript have been highlighted for the convenience of the court.

21           18.    Attached hereto as Exhibit 14 is a true and correct copy of excerpts of the deposition

22   transcript of Dr. David B. Tuckerman, conducted on December 30, 2021. Relevant portions of the

23   deposition transcript have been highlighted for the convenience of the court.

24           19.    Attached hereto as Exhibit 15 is a true and correct copy of the Initial Expert Report of

25   Dr. Carl-Fredrik Stein Regarding Pump Impeller Designs And Performances, served November 3,

26   2021.

27           20.    Attached hereto as Exhibit 16 is a true and correct copy of excerpts of the deposition

28   transcript of Dr. Carl-Fredrik Stein, conducted on January 11, 2022. Relevant portions of the
                                                       -2-
                                                                                 DECLARATION OF REUBEN H. CHEN ISO
                                                               DEFS’ NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT
                                                                                         CASE NO. 3-19-CV-00410-EMC
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 1   deposition transcript have been highlighted for the convenience of the court.

 2            21.   Attached hereto as Exhibit 17 is a true and correct copy of excerpts of 2014 trial

 3   transcript for Asetek Danmark A/S v. CMI USA, Inc., fka Cooler Master USA, Inc., No. 13-cv-00457-

 4   JST (N.D. Cal.). Relevant portions of the transcript have been highlighted for the convenience of the

 5   court.

 6            22.   Attached hereto as Exhibit 18 is a true and correct copy of Judge John S. Tigar’s April

 7   21, 2015 Findings of Fact and Conclusions of Law in Asetek Danmark A/S v. CMI USA, Inc., fka

 8   Cooler Master USA, Inc., No. 13-cv-00457-JST (N.D. Cal.).

 9            23.   Attached hereto as Exhibit 19 is a true and correct copy of the Claim Construction

10   Order in Asia Vital Components Co., Ltd. v. Asetek Danmark A/S. No. 16-cv-7160-JST (N.D. Cal.),

11   dated January 17, 2018.

12            24.   Attached hereto as Exhibit 20 is a true and correct copy of Korean Utility Model No.

13   XX-XXXXXXX, application date February 25, 2003, bearing Bates numbers COOLIT0004768-785.

14            25.   Attached hereto as Exhibit 21 is a true and correct copy of the Final Verdict Form in

15   Asetek Danmark A/S v. CMI USA, Inc., fka Cooler Master USA, Inc., No. 13-cv-00457-JST (N.D.

16   Cal.).

17            26.   Attached hereto as Exhibit 22 is a true and correct copy of Asetek’s Revised Proposed

18   Verdict Form in Asetek Danmark A/S v. CMI USA, Inc., fka Cooler Master USA, Inc., No. 13-cv-

19   00457-JST (N.D. Cal.).

20            27.   Attached hereto as Exhibit 23 is a true and correct copy of the hearing transcript in

21   Asetek Danmark A/S v. CoolIT Systems, Inc., No. C 19-00410 EMC (N.D. Cal.). Relevant portions of

22   the transcript have been highlighted for the convenience of the court.

23            28.   Attached hereto as Exhibit 24 is a true and correct copy of excerpts of the deposition

24   transcript of Dr. David B. Tuckerman, conducted on December 20, 2021. Relevant portions of the

25   deposition transcript have been highlighted for the convenience of the court.

26            29.   Attached hereto as Exhibit 25 is a true and correct copy of excerpts of the deposition

27   transcript of Dr. David B. Tuckerman, conducted on December 22, 2021. Relevant portions of the

28   deposition transcript have been highlighted for the convenience of the court.
                                                      -3-
                                                                                DECLARATION OF REUBEN H. CHEN ISO
                                                              DEFS’ NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT
                                                                                        CASE NO. 3-19-CV-00410-EMC
        Case 3:19-cv-00410-EMC Document 387-1 Filed 03/31/22 Page 5 of 5



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 2          30.    Attached hereto as Exhibit 26 is a true and correct copy of the Materials Considered

 3   list from the Expert Report of Dr. David B. Tuckerman Regarding Invalidity of U.S. Patent Nos.

 4   8,746,330; 9,603,284; and 10,274,266, served on November 3, 2021.

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 6          I declare under penalty of perjury under the laws of the United States that the foregoing is true

 7   and correct to the best of my knowledge.

 8          EXECUTED at Sunnyvale, California on this 31st day of March, 2022.

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10                                                 /s/ Reuben H. Chen
                                                   Reuben H. Chen
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                                                                                DECLARATION OF REUBEN H. CHEN ISO
                                                              DEFS’ NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT
                                                                                        CASE NO. 3-19-CV-00410-EMC
